
In re El-Mumit, Abdullah Hakim a/k/a; Sparks, Thomas Jr.; applying for writ of *415certiorari and/or review, writ of mandamus &amp; supervisory writ; Parish of Livingston, 21st Judicial District Court, Div. “A”, No. 48509-A; to the Court of Appeal, First Circuit, No. CW/86/1253.
Granted and remanded. Sentence is vacated. Case remanded to district court to rule on defendant’s motion for a new trial before imposing sentence. La.Code Crim.P. art. 853; State v. Randolph, 409 So.2d 554 (La.1982). Trial judge also ordered to rule on defendant’s motion for return of personal property.
